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                                      1 of 12

                                                                                   APPEAL,TERMED
                    U.S. District Court − District of Colorado
                          District of Colorado (Denver)
        CRIMINAL DOCKET FOR CASE #: 1:17−cr−00168−CMA All Defendants
                                Internal Use Only

    Case title: USA v. McClaflin                            Date Filed: 05/17/2017
                                                            Date Terminated: 05/14/2018

    Assigned to: Judge Christine M.
    Arguello
    Appeals court case number:
    18−1217 USCA

    Defendant (1)
    Karen Lynn McClaflin              represented by Karen Lynn McClaflin
    TERMINATED: 05/14/2018                           44166−013
                                                     CARSWELL
                                                     FEDERAL MEDICAL CENTER
                                                     Inmate Mail/Parcels
                                                     P.O. BOX 27137
                                                     FORT WORTH, TX 76127
                                                     PRO SE

                                                 Ann Marie Taliaferro
                                                 Brown Bradshaw & Moffat
                                                 10 West Broadway
                                                 Suite 210
                                                 Salt Lake City, UT 84101
                                                 801−532−5297
                                                 Fax: 801−532−5298
                                                 Email: ann@brownbradshaw.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: 10th Circuit Special Designation

                                                 Nathan Dale Chambers
                                                 Nathan D. Chambers LLC
                                                 303 16th Street
                                                 Suite 200
                                                 Denver, CO 80202
                                                 303−825−2222
                                                 Fax: 303−825−4010
                                                 Email: nchambers@nathanchamberslaw.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: CJA Appointment

                                                 Thomas James Hammond
                                                 Thomas J. Hammond, P.C.
                                                 1544 Race Street
                                                 Denver, CO 80206
                                                 303−321−7902
                                                 Fax: 303−329−5871
                                                 Email: hammondlaw@solucian.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: CJA Appointment

    Pending Counts                               Disposition
    18 U.S.C. § 1343 Wire Fraud                  Defendant committed to the custody of the Federal
    (1)                                          Bureau of Prisons to be imprisoned for a total term of
                                                 NINETY−SIX (96) MONTHS to run concurrently to
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 2 ofpg
                                                                                   12
                                      2 of 12

                                                      Count 2. Supervised Release of THREE (3) YEARS
                                                      to run concurrently to Count 2. Special Assessment of
                                                      $100.00. Restitution of $14,528,206.39.
                                                      Defendant committed to the custody of the Federal
    18 U.S.C. § 1957 Monetary                         Bureau of Prisons to be imprisoned for a total term of
    Transaction in property derived                   NINETY−SIX (96) MONTHS to run concurrently to
    from wire fraud                                   Count 1. Supervised Release of THREE (3) YEARS
    (2)                                               to run concurrently to Count 1. Special Assessment of
                                                      $100.00. Restitution of $14,528,206.39.

    Highest Offense Level
    (Opening)
    Felony

    Terminated Counts                                 Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                        Disposition
    None


    Plaintiff
    USA                                           represented by Pegeen Denise Rhyne
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0323
                                                                 Fax: 303−454−0409
                                                                 Email: pegeen.rhyne@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Laura Beth Hurd
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0135
                                                                 Fax: 303−454−0402
                                                                 Email: laura.hurd@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

     Date Filed     #    Docket Text
     05/17/2017      1 INFORMATION as to Karen Lynn McClaflin (1) count(s) 1, 2. (Attachments: # 1
                       Penalty Sheet) (athom, ) (Entered: 05/17/2017)
     05/17/2017      2 NOTICE OF ATTORNEY APPEARANCE: Thomas James Hammond appearing for
                       Karen Lynn McClaflinAttorney Thomas James Hammond added to party Karen Lynn
                       McClaflin(pty:dft) (Hammond, Thomas) (Entered: 05/17/2017)
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 3 ofpg
                                                                                   12
                                      3 of 12

    05/17/2017    3 Personal Recognizance Bond Entered as to Karen Lynn McClaflin (bwilk, ) (Entered:
                    05/18/2017)
    05/17/2017    4 ORDER Setting Conditions of Release by Magistrate Judge Nina Y. Wang on 5/17/17.
                    (bwilk, ) (Entered: 05/18/2017)
    05/17/2017    5 COURTROOM MINUTES for Initial Appearance, and Arraignment, as to Karen Lynn
                    McClaflin held on 5/17/2017 before Magistrate Judge Nina Y. Wang. Defendant
                    present on summons. Defendant sworn. Defendant advised. Defendant waives filing of
                    indictment. Waiver tendered to the court. Parties have an informal agreement
                    regarding discovery. Plea of NOT GUILTY entered by defendant. Bond set as to
                    Karen Lynn McClaflin (1) Personal Recognizance. Conditions of bond set. Counsel is
                    directed to chambers. (Total time: 9 minutes, Hearing time: 1:38−1:47)

                     APPEARANCES: Pegeen Rhyne on behalf of the Government, Thomas Hammond
                     on behalf of the Defendant, Angela Ledesma on behalf of Pretrial. FTR: Courtroom
                     C−204. (bwilk, ) Text Only Entry (Entered: 05/18/2017)
    05/17/2017    6 WAIVER of Indictment, by Karen Lynn McClaflin. (nmarb, ) (Entered: 05/19/2017)
    05/20/2017    7 NOTICE of Disposition by Karen Lynn McClaflin (Hammond, Thomas) (Entered:
                    05/20/2017)
    05/22/2017    8 ORDER as to Karen Lynn McClaflin: Pursuant to email correspondence between
                    counsel and Chambers staff and the Notice of Disposition 7 , a Change of Plea Hearing
                    is set for Defendant on June 21, 2017, at 3:00 PM in Courtroom A602 before Judge
                    Christine M. Arguello. Counsel for the parties shall deliver courtesy copy of the Plea
                    Agreement to Judge Arguello's chambers, via email or fax, no less than 72 hours
                    before the Change of Plea Hearing. If a courtesy copy is not timely submitted, the
                    hearing may be vacated. The original and one copy of the Statement by Defendant in
                    Advance of Change of Plea and Plea Agreement should be delivered to the courtroom
                    deputy in the courtroom at the time of the hearing (D.C.COLO.LCrR 11.1(e)(1)).
                    FURTHER ORDERED that defense counsel who has reviewed and advised Defendant
                    regarding the facts, discovery and plea agreement must attend this Change of Plea
                    Hearing. SO ORDERED BY Judge Christine M. Arguello on 5/22/2017. Text Only
                    Entry (cmasec) (Entered: 05/22/2017)
    06/19/2017    9 (Court only) BAIL REPORT as to Karen Lynn McClaflin. (doden, ) (Entered:
                    06/19/2017)
    06/21/2017   10 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Change
                    of Plea Hearing as to Karen Lynn McClaflin held on 6/21/2017. Plea entered by
                    Defendant; Guilty as to Counts 1 and 2 of the Information. Sentencing set for
                    01/17/2018 at 9:00 a.m. in Courtroom A602 before Judge Christine M. Arguello.
                    ORDERED: Counsel shall file either a Stipulation as to loss amount and restitution
                    amount, and enhancements or simultaneous Sentencing Statements by 09/29/2017. All
                    other dates are vacated and any pending motions are denied as moot. The US
                    Probation Office shall prepare a Presentence Report. Counsel shall file their sentencing
                    positions and all motions at least 14 days before the sentencing date; responses or
                    objections shall be filed no later than seven days before the sentencing date. Failure to
                    timely file these pleadings may result in a continuance of the sentencing date.
                    Defendant present on bond; bond continued. (Total time: 47 Minutes, Hearing time:
                    3:02 p.m. −− 3:49 p.m.)

                     APPEARANCES: Pegeen Rhyne on behalf of the Government; Thomas Hammond
                     on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest) Text Only
                     Entry (Entered: 06/21/2017)
    06/21/2017   11 PLEA AGREEMENT as to Defendant Karen Lynn McClaflin. (swest) (Entered:
                    06/21/2017)
    06/21/2017   12 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Karen Lynn
                    McClaflin. (swest) (Entered: 06/21/2017)
    09/01/2017   13 Joint MOTION to Continue DEADLINE FOR SENTENCING FILINGS AND
                    SENTENCING HEARING by USA as to Karen Lynn McClaflin. (Rhyne, Pegeen)
                    (Entered: 09/01/2017)
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
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                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 4 ofpg
                                                                                   12
                                      4 of 12

    09/11/2017   14 ORDER granting 13 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                    email correspondence between counsel and Chambers staff, Sentencing set for
                    1/17/2018 is VACATED and RESET to 3/14/2018, at 11:00 AM in Courtroom A 602
                    before Judge Christine M. Arguello. FURTHER ORDERED that Sentencing
                    Statements or a stipulation regarding loss and restitution is due 12/1/2017. SO
                    ORDERED by Judge Christine M. Arguello on 9/11/2017. Text Only Entry (cmasec)
                    (Entered: 09/11/2017)
    12/01/2017   15 STIPULATION Regarding Loss and Restitution by USA as to Karen Lynn McClaflin
                    (Rhyne, Pegeen) (Entered: 12/01/2017)
    02/07/2018   16 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                    Karen Lynn McClaflin (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4
                    Exhibit E, # 5 Exhibit F, Part I, # 6 Exhibit F, Part II, # 7 Exhibit G)(chanl) (Entered:
                    02/07/2018)
    02/14/2018   17 OBJECTION/RESPONSE to Presentence Report 16 by USA as to Karen Lynn
                    McClaflin (Rhyne, Pegeen) (Entered: 02/14/2018)
    02/21/2018   18 OBJECTION/RESPONSE to Presentence Report by Karen Lynn McClaflin
                    (Hammond, Thomas) (Entered: 02/21/2018)
    02/23/2018   19 MOTION for Decrease for Acceptance of Responsibility by USA as to Karen Lynn
                    McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
    02/23/2018   20 MOTION for Order for a Variant Sentence of 65 Months of Incarceration by USA as
                    to Karen Lynn McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
    03/05/2018   21 RESTRICTED PRESENTENCE REPORT as to Karen Lynn McClaflin (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F,
                    Part I, # 7 Exhibit F, Part II, # 8 Exhibit G)(chanl) (Entered: 03/05/2018)
    03/05/2018   22 RESTRICTED ADDENDUM to Presentence Report 21 as to Karen Lynn McClaflin
                    (Attachments: # 1 Exhibit A)(chanl) (Entered: 03/05/2018)
    03/05/2018   23 Unopposed MOTION to Continue Sentencing by Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/05/2018)
    03/05/2018   24 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 03/05/2018)
    03/05/2018   25 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/05/2018)
    03/05/2018   26 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/05/2018)
    03/06/2018   27 ORDER granting 23 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                    email correspondence between counsel and Chambers staff, Sentencing set for
                    3/14/2018 is VACATED and RESET to 5/10/2018, at 11:00 AM in Courtroom A 602
                    before Judge Christine M. Arguello. SO ORDERED by Judge Christine M. Arguello
                    on 3/6/2018. Text Only Entry (cmasec) (Entered: 03/06/2018)
    03/09/2018   28 ORDER granting 24 Motion for Leave to Restrict. Docs. 25 and 26 , all exhibits
                    attached thereto, and any orders that may reveal the contents of these documents shall
                    have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                    3/9/2018. Text Only Entry (cmasec) (Entered: 03/09/2018)
    04/24/2018   29 NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                    Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                    04/24/2018)
    04/24/2018   30 MOTION for Forfeiture of Property FOR PRELIMINARY ORDER OF FORFEITURE
                    FOR A PERSONAL MONEY JUDGMENT by USA as to Karen Lynn McClaflin.
                    (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura) (Entered: 04/24/2018)
    04/25/2018   31 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                    RULES/PROCEDURES: re: 30 MOTION for Forfeiture of Property FOR
                    PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                    JUDGMENT filed by attorney Laura Beth Hurd. The format for the attorneys signature
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 5 ofpg
                                                                                   12
                                      5 of 12

                     block information is not correct − the signature block does not contain the updated
                     contact information. DO NOT REFILE THE DOCUMENT. Action to take − future
                     documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                     Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                     (Entered: 04/25/2018)
    04/25/2018   32 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                    JUDGMENTAGAINST DEFENDANT KAREN LYNN MCCLAFLIN as to Karen
                    Lynn McClaflin. By Judge Christine M. Arguello on 04/25/2018. (athom, ) (Entered:
                    04/25/2018)
    05/04/2018   33 MOTION to Continue May 10, 2018 Sentencing Hearing by Karen Lynn McClaflin.
                    (Hammond, Thomas) (Entered: 05/04/2018)
    05/04/2018   34 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 05/04/2018)
    05/04/2018   35 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 05/04/2018)
    05/04/2018   36 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                    1 Continuation of Main Document)(Hammond, Thomas) (Entered: 05/04/2018)
    05/07/2018   37 ORDER denying 33 Motion to Continue Sentencing. The Court notes that sentencing
                    has been delayed for almost a year and that Defendant does not allege, nor does any
                    evidence support, that Defendant requires a major procedure in the imminent future.
                    SO ORDERED by Judge Christine M. Arguello on 5/7/2018. Text Only Entry
                    (cmasec) (Entered: 05/07/2018)
    05/09/2018   38 ORDER granting 34 Motion for Leave to Restrict. Docs. ## 35 and 36 , all exhibits
                    attached thereto, and any orders that may reveal the contents of these documents shall
                    have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                    5/9/2018. Text Only Entry (cmasec) (Entered: 05/09/2018)
    05/10/2018   39 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                    Sentencing held on 5/10/2018 as to Defendant Karen Lynn McClaflin. Statements by
                    David Tinkle, Dean Sims, Richard Jackson, Paula Greco, Jeffrey Koch, Donna Klimas,
                    and Cynthia Lynn Henson. WITNESSES SWORN AND TESTIFIED: Melissa Tweet;
                    James Barash. EXHIBITS RECEIVED: 1, 2. ORDERED: GRANTING 19
                    Government's Motion for Decrease for Acceptance of Responsibility; DENYING 20
                    Government's Motion for Order for a Variant Sentence. FURTHER ORDERED:
                    Counsel for the parties shall retain custody of their respective exhibits until such time
                    as all need for the exhibits has terminated and the time to appeal has expired or all
                    appellate proceedings have been terminated plus sixty days. Defendant sentenced as
                    reflected on the record. Defendant present on bond; Defendant's bond is exonerated at
                    the time of voluntary surrender to the institution designated by the Bureau of Prisons.
                    (Total time: 2 Hours, 35 Minutes, Hearing time: 11:04 a.m. −− 1:51 p.m.)

                     APPEARANCES: Pegeen Rhyne and Laura Hurd on behalf of the Government;
                     Thomas Hammond on behalf of the Defendant; Michelle Means on behalf of
                     Probation. ALSO PRESENT: IRS Special Agent Melissa Tweet; Matthew Werner.
                     Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered: 05/10/2018)
    05/14/2018   40 AMENDED by Doc. 52 −− JUDGMENT as to defendant Karen Lynn McClaflin (1):
                    Defendant committed to the custody of the Federal Bureau of Prisons to be imprisoned
                    for a total term of NINETY−SIX (96) MONTHS as to each Count, to run concurrently.
                    Supervised Release of THREE (3) YEARS, as to each Count, to run concurrently.
                    Total Special Assessment of $200.00. Restitution of $14,528,206.39. SO ORDERED
                    by Judge Christine M. Arguello on 5/14/2018. (cmasec) Modified on 6/11/2018
                    (cmasec). (Entered: 05/14/2018)
    05/14/2018   41 STATEMENT OF REASONS as to Karen Lynn McClaflin. (cmasec) (Entered:
                    05/14/2018)
    05/17/2018   42 NOTICE OF APPEAL re 40 Judgment, by Karen Lynn McClaflin. (Attachments: # 1
                    Envelope) (athom, ) (Entered: 05/18/2018)
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                              Document
                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
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                                                                         Page 6 ofpg
                                                                                   12
                                      6 of 12

    05/18/2018   43 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                    the 42 Notice of Appeal as to Karen Lynn McClaflin to the U.S. Court of Appeals.
                    (Pro Se, Fee not paid and 1915 motion not filed,) (Attachments: # 1 Docket Sheet, # 2
                    Preliminary Record) (athom, ) (Entered: 05/18/2018)
    05/18/2018   44 USCA Case Number 18−1217 as to Karen Lynn McClaflin for 42 Notice of Appeal
                    filed by Karen Lynn McClaflin. (athom, ) (Entered: 05/18/2018)
    05/22/2018   45 MOTION to Proceed in Forma Pauperis and for Appointment of Counsel Pursuant to
                    the Criminal Justice Act by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                    05/22/2018)
    05/22/2018   46 CJA 23 Financial Affidavit by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                    05/22/2018)
    05/24/2018   47 TRANSCRIPT of Sentencing Hearing as to Karen Lynn McClaflin held on 5/10/18
                    before Judge Arguello. Pages: 1−112. <br><br> NOTICE − REDACTION OF
                    TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                    inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                    redact personal identifiers from the electronic transcript of the court proceeding.
                    If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                    will be made electronically available after 90 days. Please see the Notice of
                    Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (dmart, ) (Entered: 05/24/2018)
    06/01/2018   48 ORDER to Surrender as to Karen Lynn McClaflin; Defendant to surrender to Federal
                    Correctional Institution Satellite Camp, Phoenix, AZ, on 06/19/2018, by 12:00 Noon,
                    and will travel at her own expense. By Judge Christine M. Arguello on 06/01/2018.
                    (athom, ) (Entered: 06/01/2018)
    06/01/2018   49 ORDER of USCA as to Karen Lynn McClaflin re 42 Notice of Appeal. The motion to
                    withdraw is taken under advisement and this appeal is abated pending further order of
                    the court. Until the district court determines that Appellant is financially eligible for
                    appointed counsel, this court cannot appoint counsel to represent Appellant in this
                    appeal. (USCA Case No. 18−1217) (athom, ) (Entered: 06/01/2018)
    06/05/2018   50 ORDER Granting 45 Motion to Proceed In Forma Pauperis on Appeal and for
                    Appointment of Counsel Pursuant to the Criminal Justice Act 18 U.S.C. § 3006A re 42
                    Notice of Appeal as to Karen Lynn McClaflin. By Judge Christine M. Arguello on
                    06/05/2018. (athom, ) (Entered: 06/05/2018)
    06/07/2018   51 ORDER of USCA granting Mr. Hammond's motion to withdraw as attorney, and
                    appoints attorney Ann Marie Taliaferro to represent appellant as to Karen Lynn
                    McClaflin re 42 Notice of Appeal. The abatement of this appeal is lifted. (USCA Case
                    No. 18−1217) (athom, ) (Entered: 06/07/2018)
    06/11/2018   52 AMENDED JUDGMENT as to defendant Karen Lynn McClaflin (1): Defendant
                    committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                    term of NINETY−SIX (96) MONTHS as to each Count, to run concurrently.
                    Supervised Release of THREE (3) YEARS, as to each Count, to run concurrently.
                    Total Special Assessment of $200.00. Restitution of $14,528,206.39. SO ORDERED
                    by Judge Christine M. Arguello on 6/11/2018. (cmasec) (Entered: 06/11/2018)
    06/13/2018   53 MOTION for Stayof Self Surrender Order by Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 06/13/2018)
    06/13/2018   54 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 06/13/2018)
    06/13/2018   55 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                    1 Continuation of Main Document, # 2 Continuation of Main Document, # 3
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                    Continuation of Main Document)(Hammond, Thomas) (Entered: 06/13/2018)
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
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                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 7 ofpg
                                                                                   12
                                      7 of 12

    06/14/2018   56 ORDER granting 53 Defendant's Motion for Stay as to Karen Lynn McClaflin (1).
                    Defendant's self−surrender date of 6/19/2018 is stayed for 120 days. The Court
                    FURTHER ORDERS that Defendant shall self−surrender on or before 10/17/2018, at
                    noon, at the facility designated by the BOP. No further extensions will be given, absent
                    an emergency substantiated by the in−court testimony of her doctors. To the extent
                    another continuance is requested, it must be filed at least 14 days before the
                    self−surrender date so that a hearing can be held. SO ORDERED by Judge Christine
                    M. Arguello on 6/14/2018. Text Only Entry (cmasec) (Entered: 06/14/2018)
    06/18/2018   57 ORDER granting 54 Motion for Leave to Restrict. Doc. 55 , all exhibits attached
                    thereto, and any orders that may reveal the contents of these documents shall have a
                    Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on 6/18/2018.
                    Text Only Entry (cmasec) (Entered: 06/18/2018)
    06/29/2018   58 DESIGNATION OF RECORD ON APPEAL re 42 Notice of Appeal by Karen Lynn
                    McClaflin. (Attachments: # 1 Docket Sheet)(Taliaferro, Ann) (Entered: 06/29/2018)
    06/29/2018   59 TRANSCRIPT ORDER FORM re 42 Notice of Appeal by Karen Lynn McClaflin.
                    (Taliaferro, Ann) (Entered: 06/29/2018)
    07/27/2018   60 REPORTER TRANSCRIPT ORDER FORM filed by Darlene Martinez re 42 Notice
                    of Appeal. Transcript due by 8/18/2018. (nrich) (Entered: 07/27/2018)
    08/16/2018   61 TRANSCRIPT of Change of Plea Hearing as to Karen Lynn McClaflin held on
                    6/21/17 before Judge Arguello. Pages: 1−47. <br><br> NOTICE − REDACTION
                    OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                    inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                    redact personal identifiers from the electronic transcript of the court proceeding.
                    If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                    will be made electronically available after 90 days. Please see the Notice of
                    Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (dmart, ) (Entered: 08/16/2018)
    09/17/2018   62 TRANSMITTAL OF RECORD ON APPEAL as to Karen Lynn McClaflin to the U.S.
                    Court of Appeals for the Tenth Circuit as to 42 Notice of Appeal filed by Karen Lynn
                    McClaflin. Volume I − Electronic Documents; Volume II − SEALED − Electronic
                    Documents; Volume III − RESTRICTED LEVEL 2 − Electronic Documents; Volume
                    IV − Unrestricted Transcript − Electronic Documents; Volume V − Restricted
                    Transcript (90 Day Restriction) − Electronic Documents; (USCA Case No. 18−1217).
                    Text Only Entry (athom, ) (Entered: 09/17/2018)
    10/04/2018   63 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 10/04/2018)
    10/04/2018   64 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 10/04/2018)
    10/04/2018   65 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                    Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit)(Hammond,
                    Thomas) (Entered: 10/04/2018)
    10/04/2018       (Court only) ***MOTION re 65 Restricted Document − Level 1, (evana, ) (Entered:
                     10/05/2018)
    10/05/2018   66 ORDER as to Karen Lynn McClaflin: Due to the pending appeal in this case, the Court
                    questions whether or not it has jurisdiction in this matter. However, due to the
                    seriousness of the issue, it is ORDERED that 65 Defendant's Motion for Stay is
                    granted in part. Defendant's self−surrender date of 10/17/2018 is stayed for 60 days
                    until 12/10/2018. FURTHER ORDERED that an in−court hearing is set for 12/6/2018,
                    at 3:00 PM at which time the Government and defense counsel shall be prepared to
                    provide in−court testimony by Defendants doctors and a representative of the BOP.
                    The Government is DIRECTED to consult with the BOP with respect to whether the
                    BOP can provide the needed medical treatment and file a report with this Court no
                    later than 11/26/2018. SO ORDERED by Judge Christine M. Arguello on 10/5/2018.
                    Text Only Entry (cmasec) (Entered: 10/05/2018)
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 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 8 ofpg
                                                                                   12
                                      8 of 12

    10/05/2018       (Court only) ***Motions terminated as to Karen Lynn McClaflin: Pursuant to the 66
                     Order (evana, ) (Entered: 10/05/2018)
    10/11/2018   67 ORDER granting 63 Motion for Leave to Restrict. Docs. 64 and 65 , all exhibits
                    attached thereto, and any orders that may reveal the contents of these documents shall
                    have a Level 1 Restriction. SO ORDERED by Judge Christine M. Arguello on
                    10/11/2018. Text Only Entry (cmasec) (Entered: 10/11/2018)
    10/31/2018   68 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                    1 Exhibit 1)(Rhyne, Pegeen) (Entered: 10/31/2018)
    10/31/2018   69 MOTION for Leave to Restrict by USA as to Karen Lynn McClaflin. (Attachments: #
                    1 Proposed Order (PDF Only))(Rhyne, Pegeen) (Entered: 10/31/2018)
    10/31/2018   70 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Rhyne,
                    Pegeen) (Entered: 10/31/2018)
    11/02/2018   71 ORDER granting 69 Motion for Leave to Restrict. Docs. 70 and 68 all exhibits
                    attached thereto, and any orders that may reveal the contents of these documents shall
                    have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                    11/2/2018. Text Only Entry (cmasec) (Entered: 11/02/2018)
    11/29/2018   72 Unopposed MOTION to Continue December 6, 2018 Hearing by Karen Lynn
                    McClaflin. (Hammond, Thomas) (Entered: 11/29/2018)
    11/30/2018   73 ORDER granting 72 Unopposed Motion to Continue Hearing. Pursuant to email
                    correspondence between counsel and Chambers staff, the In Court Hearing set for
                    12/6/2018 is VACATED and RESET to 1/8/2019, at 03:00 PM in Courtroom A 602
                    before Judge Christine M. Arguello. FURTHER ORDERED that Defendant's
                    self−surrender date of 12/10/2018 is stayed until 1/18/2019. SO ORDERED by Judge
                    Christine M. Arguello on 11/30/2018. Text Only Entry (cmasec) (Entered:
                    11/30/2018)
    12/28/2018   74 ORDER as to Karen Lynn McClaflin: The Court, sua sponte, RESETS the In Court
                    Hearing set for 1/8/2019 to 1/14/2019, at 02:00 PM in Courtroom A 602 before Judge
                    Christine M. Arguello. SO ORDERED by Judge Christine M. Arguello on 12/28/2018.
                    Text Only Entry (cmasec) (Entered: 12/28/2018)
    12/28/2018   75 MOTION to Appoint Counsel by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 12/28/2018)
    01/02/2019   76 MEMORANDUM regarding 75 MOTION to Appoint Counsel filed by Karen Lynn
                    McClaflin: Motion(s) referred to Magistrate Judge Scott T. Varholak as acting duty
                    judge. The Court recommends that if Mr. Hammond is eligible for and willing to
                    accept CJA appointment, he be approved for such appointment in order to preserve
                    continuity of counsel. By Chief Judge Marcia S. Krieger on behalf of Judge Arguello
                    on 1/2/19. Text Only Entry (msklc2, ) (Entered: 01/02/2019)
    01/02/2019   77 ORDER granting 75 Motion to Appoint Counsel as to Karen Lynn McClaflin (1).
                    Defendant McClaflin's previous Motion for Appointment of Counsel under the
                    Criminal Justice Act was granted for the purposes of her appeal. 50 For the same
                    reasons stated in the Court's Order granting that Motion, the Court finds that
                    Defendant McClaflin qualifies for the appointment of counsel under the Criminal
                    Justice Act and appoints Attorney Thomas J. Hammond as counsel for Defendant
                    McClaflin under the Criminal Justice Act in the instant matter. SO ORDERED, by
                    Magistrate Judge Scott T. Varholak on 1/2/2019. Text Only Entry (stvlc2, ) (Entered:
                    01/02/2019)
    01/03/2019   78 ORDER APPOINTING COUNSEL as to Karen Lynn McClaflin, pursuant to 77
                    Magistrate Judge Order. SO ORDERED by Judge Christine M. Arguello on 1/3/2019.
                    Text Only Entry (cmasec) (Entered: 01/03/2019)
    01/07/2019   79 NOTICE OF ATTORNEY APPEARANCE: Thomas James Hammond appearing for
                    Karen Lynn McClaflin (Hammond, Thomas) (Entered: 01/07/2019)
    01/08/2019   80 Proof Of Service of Subpoena as to Karen Lynn McClaflin. (athom, ) (Entered:
                    01/10/2019)
Case
 Case1:17-cr-00168-CMA
      No. 1:17-cr-00168-CMA
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                              Document
                                  131-2 133-1
                                         Filed 07/27/20
                                                 filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 9 ofpg
                                                                                   12
                                      9 of 12

    01/14/2019   81 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Motion
                    Hearing as to Karen Lynn McClaflin held on 1/14/2019. WITNESSES SWORN AND
                    TESTIFIED: Todd Miner, Peter Brookmeyer. ORDERED: Simultaneous briefing re:
                    Court's authority to stay Defendant's self−surrender date due Wednesday, 1/16/2019 at
                    12:00 p.m. ALSO ORDERED: Government counsel to contact BOP or FMC Carswell
                    to coordinate the transfer of treatment from Dr. Brookmeyer to the BOP and to provide
                    that information to both Drs. Brookmeyer and Miner, and vice versa to provide Drs.
                    Brookmeyer and Miner contact information to the BOP. The Court AFFIRMS
                    Defendant's self−surrender date of 1/18/2019. Defendant present on bond; Defendant's
                    bond is exonerated at the time of voluntary surrender to the institution designated by
                    the Bureau of Prisons. (Total time: 1 Hour, 35 Minutes, Hearing time: 2:14 p.m. −−
                    4:09 p.m.)

                     APPEARANCES: Pegeen Rhyne on behalf of the Government; Thomas Hammond
                     on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest) Text Only
                     Entry (Entered: 01/15/2019)
    01/16/2019   82 VACATED − ORDER to Surrender as to Karen Lynn McClaflin; Defendant to
                    surrender to FMC Carsell, J St. Bldg. 3000, Fort Worth, Texas on 01/18/2019, by
                    12:00 Noon and will travel at her own expense. By Judge Christine M. Arguello on
                    01/16/2019. (athom, ) Modified on 1/16/2019 to vacate pursuant to 85 Order (athom, ).
                    (Entered: 01/16/2019)
    01/16/2019   83 MOTION for Reconsideration of Court Order to Self−Surrender on Friday January
                    18, 2019 by Karen Lynn McClaflin. (Hammond, Thomas) (Entered: 01/16/2019)
    01/16/2019   84 BRIEF by USA as to Karen Lynn McClaflin (Attachments: # 1 Exhibit 1)(Rhyne,
                    Pegeen) (Entered: 01/16/2019)
    01/16/2019   85 ORDER Granting Stay of Self Surrender Date as to Karen Lynn McClaflin.
                    Defendant's Motion for Reconsideration the Court's Order on Self−Surrender (Doc. #
                    83 ) is GRANTED. Defendant's self−surrender date is STAYED for 60 days, until
                    3/19/2019. The Court's 1/16/2019 Order concerning Defendant's self−surrender (Doc.
                    # 82 ) is VACATED. Status Report due by 2/15/2019 and again on 3/1/2019. By Judge
                    Christine M. Arguello on 01/16/2019. (athom, ) (Entered: 01/16/2019)
    02/15/2019   86 STATUS REPORT by Karen Lynn McClaflin (Hammond, Thomas) (Entered:
                    02/15/2019)
    02/15/2019   87 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 02/15/2019)
    03/13/2019   88 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                    (Entered: 03/13/2019)
    03/13/2019   89 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/13/2019)
    03/13/2019   90 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/13/2019)
    03/18/2019   91 ORDER granting 88 Motion for Leave to Restrict as to Karen Lynn McClaflin (1).
                    Docs. 87 , 89 and 90 , all exhibits attached thereto, and any orders that may reveal the
                    contents of these documents shall have a Level 1 Restriction. SO ORDERED by Judge
                    Christine M. Arguello on 3/18/2019. Text Only Entry (cmasec) (Entered: 03/18/2019)
    03/18/2019   92 Emergency MOTION for Stayof March 19, 2019 Self−Surrender Order by Karen
                    Lynn McClaflin. (Hammond, Thomas) (Entered: 03/18/2019)
    03/19/2019   93 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/19/2019)
    03/19/2019   94 ORDER granting 92 Motion for Stay as to Karen Lynn McClaflin (1). Defendant's
                    self−surrender date is STAYED for 7 days, until 3/26/2019. FURTHER ORDERED
                    that Defendant shall provide contact information for Dr. Miner and the hospital at
                    which the Defendant's surgery is taking place. FURTHER ORDERED that Defendant
                    shall file a written report as to Defendant's status from Dr. Miner no later than
                    3/22/2019, 12:00 PM. SO ORDERED by Judge Christine M. Arguello on 3/19/2019.
Case
 Case1:17-cr-00168-CMA
       No. 1:17-cr-00168-CMA
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                                   131-2 133-1
                                          Filed 07/27/20
                                                  filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 10 ofpg12
                                       10 of 12

                        Text Only Entry (cmasec) (Entered: 03/19/2019)
     03/19/2019    95 ORDER to Surrender as to Karen Lynn McClaflin; Defendant to surrender to FMC
                      Carsell, J St. Bldg. 3000, FortWorth, Texas on 03/26/2019, by 12:00 Noon and will
                      travel at her own expense. By Judge Christine M. Arguello on 03/19/2019. (athom, )
                      (Entered: 03/19/2019)
     03/22/2019    96 MOTION for Extension of Time to File Provide Reports And Records And To
                      ContinueThe Self Surrender Order Until The Records Have Been Reviewed By
                      Counsel And The Court by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                      03/22/2019)
     03/24/2019    97 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                      Thomas) (Entered: 03/24/2019)
     03/25/2019    98 ORDER granting 96 Motion for Extension of Time. Defendant's self−surrender date is
                      STAYED for 14 days, until 4/9/2019. FURTHER ORDERED Defendant shall file a
                      written report as to Defendant's status from Dr. Miner no later than 4/2/2019, 12:00
                      PM. SO ORDERED by Judge Christine M. Arguello on 3/25/2019. Text Only Entry
                      (cmasec) (Entered: 03/25/2019)
     04/04/2019    99 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                      Thomas) (Entered: 04/04/2019)
     04/08/2019   100 MOTION for Stayof Execution of April 9, 2019 Self−Surrender Order by Karen Lynn
                      McClaflin. (Hammond, Thomas) (Entered: 04/08/2019)
     04/08/2019   101 ORDER granting 100 Emergency Motion for Stay Self−Surrender Order. Defendant's
                      self−surrender date is STAYED until 5/14/2019. SO ORDERED by Judge Christine
                      M. Arguello on 4/8/2019. Text Only Entry (cmasec) (Entered: 04/08/2019)
     04/09/2019   102 ORDER to Surrender in lieu of transportation by the United States Marshal as to
                      Karen Lynn McClaflin; Defendant to surrender to FMC Carsell, J St. Bldg. 3000 in
                      Fort Worth, Texas, on May 14, 2019, by 12:00 Noon, and will travel at her own
                      expense, by Judge Christine M. Arguello on 4/9/2018. (evana, ) (Entered: 04/09/2019)
     05/12/2019   103 MOTION for Stayof Execution of May 14, 2019 Self−Surrender Order by Karen Lynn
                      McClaflin. (Hammond, Thomas) (Entered: 05/12/2019)
     05/12/2019   104 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                      Thomas) (Entered: 05/12/2019)
     05/13/2019   105 ORDER granting 103 Emergency Motion to Stay May 14, 2019 Self−Surrender Order.
                      Defendant's self−surrender date is STAYED for 28 days, until 6/11/2019. FURTHER
                      ORDERED Defendant shall file a written report as to Defendant's status from Dr.
                      Miner no later than 5/28/2019, 5:00 PM. SO ORDERED by Judge Christine M.
                      Arguello on 5/13/2019. Text Only Entry (cmalc3) (Entered: 05/13/2019)
     05/13/2019   106 ORDER to Surrender in lieu of transportation by the United States Marshal as to
                      Karen Lynn McClaflin; Defendant to surrender to FMC Carsell, J St. Bldg. 3000, Fort
                      Worth, Texas on June 11, 2019, by 12:00 Noon, and will travel at her own expense.
                      SO ORDERED by Judge Christine M. Arguello on 5/13/2019. (cmalc3) Modified on
                      5/14/2019 to attach PDF Order (athom, ). (Entered: 05/13/2019)
     05/29/2019   107 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                      Thomas) (Entered: 05/29/2019)
     05/29/2019   108 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                      Thomas) (Entered: 05/29/2019)
     05/29/2019   109 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (evana, ) (Entered:
                      05/29/2019)
     05/29/2019   110 ORDER Setting Telephonic Status Conference as to Karen Lynn McClaflin. Counsel
                      for the parties are directed to attend a telephonic status conference during which
                      counsel should be prepared to discuss whether the Federal Medical Center, Carswell
                      can facilitate the medical needs set forth in Doc. # 109. The Status Conference is set
                      for 6/5/2019, at 3:30 PM, in Courtroom A 602 before Judge Christine M. Arguello.
                      Counsel shall conference call each other prior to calling Chambers at 303−335−2174.
Case
 Case1:17-cr-00168-CMA
       No. 1:17-cr-00168-CMA
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                                   131-2 133-1
                                          Filed 07/27/20
                                                  filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 11 ofpg12
                                       11 of 12

                        SO ORDERED by Judge Christine M. Arguello on 5/29/2019. Text Only Entry
                        (cmalc3) (Entered: 05/29/2019)
     06/05/2019   111 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Status
                      Conference as to Karen Lynn McClaflin held on 6/5/2019. ORDERED: Court's Order
                      of 5/13/2019 remains in place −− Defendant to report to FMC Carswell on June 11,
                      2019. Defendant not present. (Total time: 9 Minutes, Hearing time: 3:30 p.m. −− 3:39
                      p.m.)

                        APPEARANCES: Pegeen Rhyne (by telephone) on behalf of the Government;
                        Thomas Hammond (by telephone) on behalf of the Defendant. Court Reporter:
                        Darlene Martinez. (swest) Text Only Entry (Entered: 06/05/2019)
     09/20/2019   112 USCA Opinion as to Karen Lynn McClaflin re 42 Notice of Appeal : We AFFIRM the
                      judgment of the district court. (USCA Case No. 18−1217) (This document is not the
                      Mandate) (Attachments: # 1 Cover Letter to Opinion)(evana, ) (Entered: 09/20/2019)
     09/20/2019   113 USCA Judgment as to Karen Lynn McClaflin re 42 Notice of Appeal : (USCA Case
                      No. 18−1217) (This document is not the Mandate) (evana, ) (Entered: 09/20/2019)
     10/15/2019   114 MANDATE of USCA as to Karen Lynn McClaflin 42 Notice of Appeal, 112 USCA
                      Opinion, and re 113 USCA Judgment, (USCA Case No. 18−1217) (evana, ) (Entered:
                      10/15/2019)
     12/31/2019   115 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 42 Notice
                      of Appeal ; assigned Supreme Court No. 19−7136 as to Karen Lynn McClaflin (
                      Appeal No. 18−1217) (evana, ) (Entered: 01/02/2020)
     02/24/2020   116 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 42 Notice
                      of Appeal ; assigned Supreme Court No. 19−7136 as to Karen Lynn McClaflin (
                      Appeal No. 18−1217) The petition for a writ of certiorari is denied. (evana, ) (Entered:
                      02/25/2020)
     06/05/2020   117 MOTION for Compassionate Release or Home Confinement per the Care & First Step
                      Acts by Karen Lynn McClaflin. (evana, ) (Entered: 06/05/2020)
     06/05/2020   118 Certificate of Service as to Karen Lynn McClaflin re 117 MOTION to Reduce
                      Sentence pursuant to First Step Act of 2018, Karen Lynn McClaflin, 44166−013,
                      CARSWELL FEDERAL MEDICAL CENTER, Inmate Mail/Parcels, P.O. BOX
                      27137, FORT WORTH, TX 76127 (evana, ) (Entered: 06/05/2020)
     06/08/2020   119 ORDER: The Government and the Probation Office are DIRECTED to file a Response
                      to 117 Defendants Motion on or before 6/15/2020. The Government's Response shall
                      specifically address: what steps the warden at this facility is taking/has taken to protect
                      especially vulnerable people like Defendant from the COVID−19 virus, what the status
                      of Defendant's administrative request is, and whether the warden has put in place any
                      process to expedite the determination of these types of compassionate release requests.
                      Probation's Response shall specifically address: what steps would need to be taken by
                      their office to put in place adequate supervision if the Court were to find that release is
                      appropriate, what the time frame would be, and what particular risks if any the relief
                      Defendant requests may create for the community. SO ORDERED by Judge Christine
                      M. Arguello on 6/8/2020. Text Only Entry (cmasec) (Entered: 06/08/2020)
     06/10/2020   120 NOTICE OF ATTORNEY APPEARANCE: Nathan Dale Chambers appearing for
                      Karen Lynn McClaflinAttorney Nathan Dale Chambers added to party Karen Lynn
                      McClaflin(pty:dft) (Chambers, Nathan) (Entered: 06/10/2020)
     06/15/2020   121 PROBATION RESPONSE TO MOTION FOR COMPASSIONATE RELEASE 117
                      as to Karen Lynn McClaflin (ntaka) (Entered: 06/15/2020)
     06/15/2020   122 RESPONSE to Motion by USA as to Karen Lynn McClaflin re 117 MOTION to
                      Reduce Sentence pursuant to First Step Act of 2018 (Attachments: # 1 Exhibit 1, # 2
                      Exhibit 2, (RESTRICTED DOCUMENT Level−2 # 3 Exhibit 3), # 4 Exhibit
                      4)(Rhyne, Pegeen) (Modified on 6/16/2020 edited to Restrict Exhibit #3)(evana, ).
                      (Entered: 06/15/2020)
     06/15/2020   123 MOTION for Leave to Restrict by USA as to Karen Lynn McClaflin. (Attachments: #
                      1 Proposed Order (PDF Only))(Rhyne, Pegeen) (Entered: 06/15/2020)
Case
 Case1:17-cr-00168-CMA
       No. 1:17-cr-00168-CMA
                          Document
                               Document
                                   131-2 133-1
                                          Filed 07/27/20
                                                  filed 07/27/20
                                                           USDC Colorado
                                                                 USDC Colorado
                                                                         Page 12 ofpg12
                                       12 of 12

     06/15/2020   124 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Rhyne,
                      Pegeen) (Entered: 06/15/2020)
     06/19/2020   125 MOTION for Leave to File Reply by July 3, 2020 by Karen Lynn McClaflin.
                      (Attachments: # 1 Proposed Order (PDF Only))(Chambers, Nathan) (Entered:
                      06/19/2020)
     06/22/2020   126 ORDER Granting 123 Motion for Leave to Restrict. Doc. # 124 , all exhibits attached
                      thereto, and any orders that may reveal the contents of these documents shall have a
                      Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on 6/22/2020.
                      Text Only Entry (cmasec) (Entered: 06/22/2020)
     06/22/2020   127 ORDER Granting 125 Defendant's Motion to Extend Deadline. Defendant shall have
                      up to and including 7/3/2020 within which to file a Reply to her 117 Motion for
                      Compassionate Release. SO ORDERED by Judge Christine M. Arguello on
                      6/22/2020. Text Only Entry (cmasec) (Entered: 06/22/2020)
     07/03/2020   128 REPLY TO RESPONSE to Motion by Karen Lynn McClaflin re 117 MOTION to
                      Reduce Sentence pursuant to First Step Act of 2018 (Attachments: # 1 Exhibit, # 2
                      Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(Chambers, Nathan)
                      (Entered: 07/03/2020)
     07/20/2020   129 ORDER Denying 117 Defendant Karen McClaflin's Motion for CompassionateRelief,
                      by Judge Christine M. Arguello on 7/20/2020. (evana, ) (Entered: 07/20/2020)
     07/24/2020   130 NOTICE OF APPEAL as to 129 Order On Motion to Reduce Sentence Pursuant to
                      First Step Act of 2018 by Karen Lynn McClaflin. (Chambers, Nathan) (Entered:
                      07/24/2020)
